United States Courts
Southsea District of Texas
FILED

tr 14or do % NOY 18 22a .

Nathan Ochsner, Clark at Court

I Anau. nen vecacteroded as.

_ N Broome. Caen Qter
Sulteces ond Skruggud Lun E.qileesy axnd,

TDooressson ond wWoS § hola CARSWELL cord \nelo her:

Bee Sesecod atemps Crumet Ruder Mode Qaod.

ox

(9280. Shewes Gutd ‘nangae wm tie Shower

—_____| Qusus . \os ot\\e_

Oe a ac dien Caclby urnere ne: Mgw lope ore

| sr odd Gc ladle ane Las Semed.

O\we . She. WES alceady Apwmne,_, aA wos te

lek. Lala VS More ‘sed. EM. Charce\

Ane Mnouciak ers, wos Cotime ServzpveS$.
oD

ne S rolement

“Tine _fesull con ool Women, Vain

Who \ned went to Wea - “Sarge Vane _prenious

Digui Wersec, wala Chesk Pam ond Qrder

[Mane _Gaitouns doy
-

Lain ca Serve eve Ane Some loota deed

“Ts Leoliu Claws be be aurea) Led |

bud ve AS

cere ds bed. Vas Cocky aso osted Gor:

Wp ir NN Gnd Cn ec Lom “tin, ound
not

_%

Wonked One Wmeles ke stk rere Weiva eas.

LJ OMe Strussle Ona dre, WASMedA Df Ge dears,

Mtr rons fe dhe _tanhin \eae Gael

Ls Cnn Wane 40st \nanor. UV. Daw.

| every A, 4h, Condanue ho WA _CLecSo

OF Fane. OARSOELL, On wlaes - dasenks - D> Vouses-

Onde Ow exgechns, @- loved, One. lou. \nawee,

Slroc}y lost lorceuse 06 Neglect. of Yass.

mstilghon. LL needs do sho, This Place

Needs to he Weld cee ounteble.

Pleas Consder add os WA Mi

Orc cums kemes pac ding ne Nevo. 2eC0 -Pomt

OLandeac’ \ quchfy Gr. Led me M0 nome

So \_ con Se Oo pec Medice.\ Leak Men}

ck

OREVE

phe Ue
Tusa

VER

5a
seeks

<>99877-4790
United States
515 RUSK ST
Souther District Court
Houston, TX 77002
United States

’

Ong FR

FREED

Poets

VERTUSA

U.S. POSTAGE PAID
FGM LG ENV
NAVAL AIR STATION JRB
TX 76127

OV 08, 2023

R2900A155491

MEN INET ens cans Be oe

